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 3   Assistant United States Attorney
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 6

 7
                             UNITED STATES DISTRICT COURT
 8
                                    DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,   )                   2:99-cr-309-KJD
10
                                 )                   (2:15-cv-2206-KJD-NJK)
11                  Plaintiff,   )
                                 )
12                               )                   Government’s Motion to
               v.                )                   Correct Docketing of Defendant’s
13
                                 )                   Petition for a Writ of Error
14                               )                   Coram Nobis
     ATEF SALAMI NEMER HIRCHEDD, )
15                               )
                    Defendant.   )
16
                                 )
17
             THE UNITED STATES, by and through DANIEL G. BOGDEN, United States
18
     Attorney, and ELIZABETH O. WHITE, Appellate Chief and Assistant United States
19

20   Attorney, respectfully requests that this Court direct the Clerk’s office to correct the

21   docketing of the Defendant’s petition for a writ of error coram nobis in the
22
     above-captioned case.
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                                          Background
 1
             In October 2000, Defendant was convicted on his guilty plea of conspiring to
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     possess and pass counterfeit currency obligations of the United States in violation of
 3
     18 U.S.C. § 371. Defendant did not appeal, and his conviction therefore became final
 4

 5   in November 2000.

 6           More than 15 years later, Defendant filed a “petition for a writ of error coram
 7
     nobis.” See 2:15-cv-2206-KJD-NJK, Doc. #1. The petition’s caption correctly cited the
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     defendant’s criminal case docket number (CR-S-99-309-KJD [now 2:99-cr-309-KJD]).
 9
     However, the filing of the petition prompted the creation of a new civil docket number.
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11   This may be because Defendant erroneously filed a petition as a new civil matter or,

12   perhaps, by analogy to this Court’s practice of assigning post-conviction 2255 motions
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     a civil docket number for statistical and tracking purposes, the clerk’s office
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     mistakenly opened a civil docket number for Defendant’s petition. In any event,
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     Defendant’s petition was docketed in the new civil case, rather than in Defendant’s
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17   criminal case, and it appears the petition is erroneously being treated as a new civil

18   matter (e.g., the docket contains a “civil cover sheet” and a “summons” directing the
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     government to respond).
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                                    Points and Authorities
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             Rule 60(b) of the Federal Rules of Civil Procedure expressly abolishes the writ
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23   of error coram nobis in civil proceedings. Notwithstanding that Rule, however, the

24   Supreme Court has held that the writ may still be available in criminal proceedings,
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     in very limited circumstances, under the All Writs Act, 28 U.S.C. § 1651(a). See United
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     States v. Morgan, 346 U.S. 502, 511 (1954). The Supreme Court in Morgan explained
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     that a petition for a writ of error coram nobis “is a step in the criminal case and not,
 1
     like habeas corpus where relief is sought in a separate case and record, the beginning
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     of a separate civil proceeding.” Id. at 505 n.4 (emphasis added) (citing Kurtz v. Moffitt,
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     115 U.S. 487, 494 (1885)); see also United States v. Denedo, 556 U.S. 904, 913 (2009)
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 5   (noting that the writ of error coram nobis “is properly viewed as a belated extension of

 6   the original proceeding during which the error allegedly transpired”).
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               It has been the practice in this Court that petitions for the ancient writs (i.e.,
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     writs of error coram nobis and audita querala) are docketed in the defendant’s
 9
     criminal case.1 Often, the docketing of the petition generates a “motion ripe” date; and
10

11   if the Court, after reviewing the petition, determines that a response from the

12   government is necessary, it orders one.2 Because a petition for a writ of error coram
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     nobis “is a step in the criminal case” and is “not… the beginning of a separate civil
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     proceeding,” Morgan, 346 U.S. 505 n.4, the government respectfully suggests that the
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     civil docket was opened, and the civil summons was issued, in error.
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24   1 See, e.g., United States v. Varona Martinez, et al., 2:99-cr-38-KJD-RJJ, Doc. #101;
25   United States v. Lyons, 2:95-cr-286-PMP-RJJ, Doc. #227; United States v. Ligon,
     3:04-cr-00185-HDM-RAM, Doc. #36; United States v. Cottey, 3:02-cr-116-HDM-RAM,
26   Doc. # 46; United States v. Balcar, 2:96-cr-00046-KJD-PAL, Doc. # 149.

     2   See, e.g., Lyons, 2:95-cr-286, Doc. #228; Varona Martinez, et al., 2:99-cr-38, Doc. #104.
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                                            Conclusion
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             Based on the above, the government respectfully requests that Defendant’s
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     petition be docketed in Defendant’s criminal case, 2:99-cr-309-KJD; that the summons
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     in the civil case be vacated as issued in error; that the civil case,
 4

 5   2:15-cv-2206-KJD-NJK, be closed as opened in error.

 6   Dated this 7th day of January 2016.
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 8                                                     DANIEL G. BOGDEN
                                                       United States Attorney
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10                                                     s/ Elizabeth O. White
                                                       ELIZABETH O. WHITE
11                                                     Appellate Chief and
12                                                     Assistant United States Attorney

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        Case 2:99-cr-00309-KJD Document 73 Filed 01/07/16 Page 5 of 5



                                    Certificate of Service
 1
            I certify that on January 7, 2016, I electronically filed the foregoing
2    Government’s Motion to Correct Docketing of Defendant’s Petition for a Writ of Error
 3   Coram Nobis with the Clerk of the Court by using the CM/ECF system. Service will be
     accomplished by the CM/ECF system. In addition, I certify that a copy of this motion
 4   will be served on defendant’s counsel, via-first class, postage-paid mail on January 7,
     2016, at the following address:
 5

 6         LAW OFFICES OF DON P. CHAIREZ
           Don P. Chairez, Esq.
 7         Nevada Bar No. 3495
           4240 West Flamingo Road, Suite 220
 8         Las Vegas, Nevada 89103
 9         Counsel for Defendant Atef Nemer

10
     Dated: January 7, 2016
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12                                                       s/ Elizabeth O. White
                                                         ELIZABETH O. WHITE
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                                                         Appellate Chief and
14                                                       Assistant United States Attorney

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